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                        IN THE UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION
IN RE:
                                                        Case No. 9:18-bk-01169-FMD
OSVALDO SANTA MARIA
YUNIA SANTA MARIA

            Debtors
_______________________________/

                                      NOTICE OF HEARING

        PLEASE TAKE NOTICE that a hearing will be held on the 16th day of May, 2019 at 9:30
a.m., in the United States Courthouse, 2110 East First Street, Room 4-102, Courtroom E, Fort
Myers, FL 33901 before the Honorable Judge Caryl E. Delano, United States Bankruptcy Judge, to
consider and act upon the following matter(s):

       Trustee’s Objection to Claim No. 5-1 filed by Deutsche Bank National Trust Company
(Doc. No. 27); and Deutsche Bank National Trust’s Response to Trustee’s Objection (Doc. No.
33)

Appropriate Attire. You are reminded that Local Rule 5072-1(b)(16) requires that all persons
appearing in Court should dress in business attire consistent with their financial abilities. Shorts,
sandals, shirts without collars, including tee shirts and tank tops, are not acceptable.

Avoid delays at Courthouse security checkpoints. You are reminded that Local Rule 5073-1
restricts the entry of cellular telephones and, except in Orlando, computers into the Courthouse
absent a specific order of authorization issued beforehand by the presiding judge. Please take notice
that as an additional security measure a photo ID is required for entry into the Courthouse.

                                         Certificate of Service

         I HEREBY CERTIFY that a true and correct copy of the foregoing was sent electronically to
the Assistant U.S. Trustee, and Robert Sanchez, and by regular U.S. Mail to Osvaldo Santa Maria
and Yunia Santa Maria, 2400 55th Street SW, Naples, FL 34116, Deutsche Bank National Trust c/o
Franklin Credit Management Corp., P.O. Box 2301, Jersey City, NJ 07303, and Deutsche Bank, c/o
Taji Foreman, Esquire, Kahane & Assoc., 8201 Peters Road, Suite 3000, Plantation, FL 33324 on
this 24th day of April, 2019.

                                                 /s/ Robert E. Tardif Jr.
                                                Robert E. Tardif Jr.
                                                Post Office Box 2140
                                                Fort Myers, FL 33902
                                                (239) 362-2755
                                                (239) 362-2756 – facsimile
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